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                EXHIBIT 3
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From:           Aloi, Elizabeth (USADC)
To:             John Rowley; Crabb, John D. (USADC)
Cc:             "Stan Brand"; stanley@brandwoodwardlaw.com; john.irving@earthandwatergroup.com; jrowley@secillaw.com
Subject:        Re: [EXTERNAL] USA v. Navarro (Proposed Stipulation for Elizabeth Harrington"s Testimony)
Date:           Wednesday, August 23, 2023 7:38:19 AM
Attachments:    image001.png


Good morning,

Received. John Crabb is in trial, but we will discuss and get back to you as soon as feasible.

Liz

Get Outlook for iOS

From: John Rowley <jrowley@secillaw.com>
Sent: Tuesday, August 22, 2023 10:04 PM
To: Aloi, Elizabeth (USADC) <EAloi@usa.doj.gov>; Crabb, John D. (USADC)
<JCrabb@usa.doj.gov>
Cc: 'Stan Brand' <stanleymbrand@gmail.com>; stanley@brandwoodwardlaw.com
<stanley@brandwoodwardlaw.com>; john.irving@earthandwatergroup.com
<john.irving@earthandwatergroup.com>; jrowley@secillaw.com <jrowley@secillaw.com>
Subject: [EXTERNAL] USA v. Navarro (Proposed Stipulation for Elizabeth Harrington's
Testimony)

Counsel –

Since our videoconference with Judge Mehta on Friday, August 11, we have had number of
conversations with Elizabeth Harrington about her ability to provide a deposition or in-person
testimony for our August 28 evidentiary hearing. She told us that she would like to cooperate,
but has been concerned that the hearing was running up against her August 29 due date. On
August 18, Ms. Harrington's nurse practitioner sent us a note dated August 15 (attached)
which stated that it would be unwise for Ms. Harrington to be subjected to the stress inherent
in testifying until after her baby has been born and she has time to recover. The situation
changed last Sunday, August 20, when Ms. Harrington gave birth to a baby boy. Since she is
unable to testify by deposition or in person, we propose that the parties agree to stipulate to the
testimony she would provide. We have discussed the stipulation with Ms. Harrington and
prepared a proposed stipulation (also attached). Please let us know whether the stipulation is
acceptable to the Government so we can update the Court.

Regards,    

John P. Rowley III
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